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                                                                                                   *     s i,: {rtv.
               IN     THE I'NITED STATES DISTRICT COURT FOR
                            SOUTHERN DISTRICT OF GEORGIA
                                  DI'BLIN DIVISION



NOEL ARNOLD,

         D6t-it-i^hAr

                                                           CIVIL     ACTION NO. CV 312-063




UNITED STATES OF AMERICA,

       Pach^rrdant-




                                                   ORDER



         On July            !6,     201-2, PeEitioner              Noel Arnold         initiated         the

instant        case by moving to vacate,                           set. aside,     or     correct        his

nnimin:l        qenfen.e            nrr.rsuant to          28 U.S.C.        S 2255.           He claimed

that     his        trial         counsel    had been ineffective                  for        failing      to

obtain       bank           surveillance           video      that       supposedly           woul-d have

d.emonstrated               t.hat    he     did     not     use      a   real    gun     in     the     bank

r.\l-rl-\arr/        ThF r;or/FrnmenE moved t.o dismiss                         Arnofd's        petition

based upon the collateral                         attack    waiver       in his plea agreement.

This     court        dismissed           the petition             on that      basis.          (order     of

Mar. 25, 2013, adopting                      the ReporL and Recommendation of Feb.

2f,    20f3.)           Both this           Court and the Ef event.h Circuit                       denied

Arnofd a certificate                      of appealabili.ty.
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               In         November 2014,                          Arnold            filed                     a      motion                  pursuant                  to

Federal                  Rule of Civil                     Procedure 60 (b) , arguing                                            that                 this         Court

had mistakenly                           relied            upon the coffateral                                       attack                 waiver                 since

the Department                            of     .fustice             ("DOJ" ) had announced a new pol-icy

not                to        enforce                collateral                  attack                            waivers                        in         certain

circumscances invofving                                          ineffectiveness                                  cl-aims.                  (See Doc. No.

22, Gov' t Resp. Eo                                    Mot.          to Reopen Case, a!                                         2 (quotlng                         Memo.

from               ,fames M.                    Co1e,            Deputy         Att.                    Gen.,                   to          A11             Federal-

ProsecuEors (Oct. 14, 2014)-).)                                                     This Court rejected                                                    Arnol-d's

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                         L ^ ^ ^ ^ ^ - r ' r - r rr rvl      nress his
                                                             ylvJJ                  i nef f er.five assistance                                                     claim

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pctbL          Ir-L>       s(J,LIctLErctl                                            ,



to demonstrate                            the invalidity                     of his               waiver                   regardless                          of the

covernment's                         new pol-icy.                     (Order of ,fan. 7, 2015.)

               Arnold             did not. appeal this                         court's                            order         denying his Rule

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rFnFafino                     his       claim             thaf       his     aftrrrnew                            faiLed             to          oblain             bank

surveil-lance                       video.                (See Arnold v. United States,                                                          CV 3:15-034

 lC n              e^         Anr          6      ? 0 1q I            Tn anfi.'inafion                                    of         the          Coffateral

attack                  waiver         hurdl-e,             Arnold           point.ed                 to           che new DoJ policy.

Trldaad                  Arrr.\'l d      ,arrrrrerf        thaE.      beCaUSe            Of             Ehe          nali        n^r             h^a       i -r'     r-i r




               I        Tn    n^rf       i.rt   l ar        j -h a    Mpmr'| qt-al-Fq'                            "FOr          CaSeS                 in    which           a
defendant's ineffective             assistance cfaim would be barred by a
previously  executed waiver/                    prosecutors      should decline  to
enforce the waiver when defense counsef rendered ineffective
assistance  resulting            in prejudice             or when t.he defendant's
ineffective  a s s i s t a n c e  c l - a i m r a i s e s a serious debatable issue
that a courc should resolve, "
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ineffective                 assistance             of       counsel        claim               was not                    previously

avaifable              to     him and therefore                      he was not                         required                to    seek

authorizati-on                   from     the     Eleventh            circuit               to           file            a second or

successive              S 2255 petitlon.

           on     May 19,             201"5, the              UniEed States                            Magistrate                    Judge

issued            a     Report            and       Recommendation                           rejecting                         Arno]d's

argumenEs and concluding                            that          Ehis second S 2255 petition                                           (CV

3 :15-034 )             should           be       dismissed             as        second                        or       successi-ve.

specificalfy,                    the MagisLrate               Judge pointed                     out chat this                        court.

had addressed                    Arnol-d's         "new DoJ policy"                          argument                     in    denying

his       Rule        50(b)        moLion j-n this                  case,          Moreover,                             the    new DOJ

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PUrrL)/                                                                            y fl - ^di r- -^ - ! r 1 :


a very narrow subset of numerically                                        second claims                                 Lhat are not

considered                  to      be      second           or      successive.                                     FinalIy,          the

Magistrate              Judge noted               that       the Governmenc had noE exercised

its   discretion                  under the DOJ policy                       to decline                          enforcement            of

t.he coflateral-                  attack      waiver          in Arno]d's                  case.                     (See Doc. No.

2,        cv     3:15-034.)                     This         courE.        adopt.ed                       t.he           Report        and

Recommendation on                           June        15,         20]-5,        dismissed                           the       S     2255

petition,              and closed             the case.              Arnofd           appealed.

           on     October             19,     2015,           the      Eleventh                    Circuit                  dismissed

Arno]d's              appeal of t.he dismissal                       of his second S 2255 petition

in CV 3:15-034.                      The Efeventh Circuit                         explained                          that      Arnofd's

second S 2255 petition                            conLained two merilless                                            claims,           The
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first,               that           his             counsef was ineffective                                                     for         failing                     to obtain

bank surveiLlance                                             video,                    was litigated                              in       his           first                   S 2255

motion and Lherefore                                                  is impermissibly                                    successive.                              The second,

that            the court                       erred                  in dismissing                               his         first         S 2255 moEion in
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judgment in his                                      first                  S 2255 proceedings,                                           and as such, could

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                     PluPe!


' 11        c v - l . 15 - 0 3 4 . )                           Therer:non. the El evenf.h CircuiE                                                                      dismissed

Arnol-d's appeal in his                                                       second S 2255 case.

                Presentl-y,                          Arnold                    has fifed                       a "Motion                    to         Reopen Habeas

Proceedings"                               under                  Federal                      Rule of                  civj,l          Procedure                           60 (b)                in

the inslant                          case.2                       Arnold                   contends                 Ehat his                 motion                     is        at the

 "suggestion"                              of         the             Efeventh                         Circuit.                  Arnofd                points                     Eo the

fact             that            the            E]evenEh                           Circuit                   cited             to         Gilbert                      v.         united

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descripEive                            parenthetical                                           "that         a f ederal-                    prisoner                         may use

Drr'l a         Kn 11.\)           t-^          \n^i71f                tl      nrrt-           .       .lafa..f           in       l-ha     i11i. F.rr.il.\/                      6f         fha



earl-ier                 S 2255 motion proceeding. "'                                                                    Arnofd             seizes                     upon this

nrrer1t-hcl- i-:l                             f.r        fi1e               the           current                 Rul-e        60(b)             motion.




                '?
         The C1erk mistakenly                     filed      this motion in Arnol-d's
second S   2 2 5 5  c a s e - C V  3 : l - 5 - 0 3 4 - a s   w e1l.   Arnol-d, however,
seeks only to reopen t.his first.                          S 2255 case (specifically
referencing only CV 3:]-2-063).                      Besides, the Eleventh Circuit
expressly barred any argument based upon the new DOJ policy in
Ehe second S 2255 case. Accordingly,                          the Clerk is directed to
TERMINATEChe       mot.ion      to  reopen          the     case  docketed in CV 3:15-
034.
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aLEack                  waiver                   and            reach                    the               merits                  of        his           ineffective

assistance                            cl-aim,                 but               he             contends                        that              this            court                  is

"required"                           to        reach                Ehe merits                                   of       his           claim             because                   the

Eleventh                         Circuit            has "suggested"                                           that            the new DoJ policy                                   has

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                The court                      has thorouqhfv                                     reviewed                     the Eleventh                      Circuit's

dismissal-                        order          rel-ied                  upon by Arnold                                      and det.ermined that                                      it

does noL require                                    this             Court                   to        reach              the merits                    of his              claim

through                     the Rul-e 60(b)                                motion.                           Inscead,                   in    citing              Gilbert,

the Efeventh Circuit                                           simply held EhaE a second S 2255 petition

is not a proper vehicle                                                    to chaf l-enge a prior                                            S 2255 judgment;

rather,                     a RuIe 60(b)                           motion                     is.                While           staEing                Ehis general-

proposition                               of      1aw emboldened                                          ArnoId                to        f il-e          the         present

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in         this             case.

                Turning                   now to t.he merits                                         of Arnold's                        Rule 60(b)                    motion,

the            Court              emphasizes                       that               it          has previously                              determined                        that

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of Arnol-d's                          collateraf                          atEack waiver.                                       As before,                    Arnol-d has

not. demonstrated                                 that             the collateral                                      attack           waiver            is invalid.

!'rrrf hcr                       j-ha c.\'Frnment has chosen to exercise                                                                          iE.s discretion
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                                  Pvr+vf



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             vv
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rFl iiidaftr                      fhc       nerifs                   of         claims -             GonzaLez v.                  Sec.         for         Dep't

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Arnold's                      claim               t.hat                   the           new        DoJ          policy            precludes                         Ehe

appfication                         of his col-Lateral                                    atLack waiver has been litigated

and           rejected,                            and                    noEhing                  has           changed                 to           warrant

recons iderat ion .

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effect             of         the new DOJ policy                                           through             this        second Rul-e 60 (b)

motion is                     misplaced.                           Accordingly,                        his           motion to reopen this

case (doc. no.                              21) ls DENIED.

           ORDERENTEREDat                                            Augusea, Georgia,                                this

,January, 2016.




                                                                                               UNITED                STA          DISTRICT                 JIIDGE
